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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “MOTION TO
          Plaintiff,                   VIEW UNENCRYPTED HARD
                                       DRIVES AT THE FDC;”
         v.                            DECLARATION OF COUNSEL;
                                       EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE
   ANTHONY T. WILLIAMS,

          Defendant.


         DEFENDANT’S “MOTION TO VIEW UNENCRYPTED
                 HARD DRIVES AT THE FDC”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides DEFENDANT’S “MOTION TO VIEW UNENCRYPTED

   HARD DRIVES AT THE FDC;” Declaration of Counsel and

   Exhibit “A.”
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      Dated: December 2, 2019




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
